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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN

LELAND FOSTER,                                 )
                                               )
              Plaintiff,                       )   Case No. 2:17-cv-11033
v.                                             )
                                               )
N Dahlmann Knollwood LLC, a Michigan           )   Judge:
limited liability company,                     )
                                               )
And                                            )
                                               )
 HOBBS KNOLLWOOD LLC, a Michigan               )
limited liability company

              Defendants.



               COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

       Plaintiff, LELAND FOSTER, individually, by and through the undersigned counsel,

Owen B. Dunn, Jr. and Valerie J. Fatica, Co-Counsel for Plaintiff, hereby files this Complaint

against Defendants N Dahlmann Knollwood LLC and HOBBS KNOLLWOOD LLC for

injunctive relief, damages, attorneys’ fees, litigation expenses, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), alleging as follows:

                                 JURISDICTION AND VENUE

1.     This action is brought by the Plaintiff, Leland Foster, individually, and on behalf of

       individuals similarly situated, pursuant to the enforcement provision of the American

       with Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12188(a), against the Defendants

       as delineated herein.

2.     The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which

       governs actions that arise from the Defendants’ violations of Title III of the ADA, 42
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       U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original

       jurisdiction over civil actions arising under the Constitution, laws, or treaties of the

       United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

       actions to secure civil rights extended by the United States government; and 28 U.S.C. §

       1367, as Count II utilizes the same core of operative facts as Count I, and is therefore

       subject to supplemental jurisdiction.

3.     Venue is proper in the Eastern District of Michigan as venue lies in the judicial district of

       the property situs. The Defendants’ property and operations complained of by Plaintiff

       are located in this judicial district, where the business of public accommodation is

       conducted, including the acts complained of herein.

                                            PARTIES

4.     Plaintiff, LELAND FOSTER (“Plaintiff”) is an Ohio resident, is sui juris, and qualifies

       as an individual with disability as defined by the ADA, 42 U.S.C. § 12102(2), 28 C.F.R.

       36.104.

5.     Defendants N Dahlmann Knollwood LLC and HOBBS KNOLLWOOD LLC, upon

       information and belief, operate and own the Ann Arbor Regent Hotel and Suites located

       at 2455 Carpenter Rd, Ann Arbor, MI 48108 in Washtenaw County. Plaintiff has

       patronized Defendants’ hotel as an overnight guest previously as a place of public

       accommodation.

6.     Upon information and belief, the facilities owned by N Dahlmann Knollwood LLC and

       HOBBS KNOLLWOOD LLC are non-compliant with the remedial provisions of the

       ADA. As Defendants own, leases, lease to, or operate a place of public accommodation

       as defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a)

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       and 36.104, Defendants are responsible for complying with the obligations of the ADA.

       Defendants’ facilities as a hotel and place of public accommodation fails to comply with

       the ADA and its regulations, as also described further herein.

7.     Plaintiff is an individual diagnosed with cerebral palsy and permanently uses a

       wheelchair for mobility. Plaintiff has difficulty grasping with his hands also as a result of

       his disability. As such, he is substantially limited in performing one or more major life

       activities, including but not limited to, standing and walking, as defined by the ADA and

       its regulations thereto. On or about January 11, 2017, Plaintiff visited the property that

       forms the basis of this lawsuit as an overnight hotel guest and plans to return to the

       property to avail himself of the goods and services offered to the public at the property.

8.     Plaintiff is an avid adaptive sports enthusiast and participates regularly with the active

       local adaptive sports community, including hand cycle events and tennis in Southeast

       Michigan. Leland Foster travels to Ann Arbor to participate in adaptive sporting events at

       University of Michigan once every two weeks, undergoes medical treatment at the

       University of Michigan hospital nearby this property, has many friends in the area whom

       he socializes with regularly, and frequents many establishments in the Washtenaw

       County region and has been a customer and stayed as an overnight guest at the property

       that forms the basis of this lawsuit. During the Plaintiff’s stay on the night of January 11,

       2017, Plaintiff encountered architectural barriers at the subject property that violate the

       ADA and its regulations.      The barriers to access at the property have endangered

       Plaintiff’s safety.

9.     Completely independent of the personal desire to have access to this place of public

       accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

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        purpose of discovering, encountering, and engaging discrimination against the disabled in

        public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

        Plaintiff personally visits the public accommodation; engages all of the barriers to access,

        or at least all of those that Plaintiff is able to access; and tests all of those barriers to

        access to determine whether and the extent to which they are illegal barriers to access;

        proceeds with legal action to enjoin such discrimination; and subsequently returns to the

        premises to verify its compliance or non-compliance with the ADA and to otherwise use

        the public accommodation as members of the able-bodied community are able to do.

        Independent of other visits, Plaintiff also intends to visit the premises annually to verify

        its compliance or non-compliance with the ADA, and its maintenance of the accessible

        features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity and

        as a “tester,” visited the Facility, encountered barriers to access at the Facility, and

        engaged and tested those barriers, suffered legal harm and legal injury, and will continue

        to suffer such harm and injury as a result of the illegal barriers to access and the ADA

        violations set forth herein.

10.     Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

        Defendants’ non-compliance with the ADA with respect to this property as described but

        not necessarily limited to the allegations contained in this complaint.         Plaintiff has

        reasonable grounds to believe that he will continue to be subjected to discrimination in

        violation of the ADA by the Defendants. Plaintiff desires to visit the Defendants’ place of

        business again on future occasions, not only to avail himself of the goods and services

        available at the property but to assure himself that this property is in compliance with the

        ADA so that he and others similarly situated will have full and equal enjoyment of the

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        hotel and its amenities without fear of discrimination.

11.     The Defendants have discriminated against the individual Plaintiff by denying him access

        to the full and equal enjoyment of the goods, services, facilities, privileges, advantages

        and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.     The Defendants have discriminated and are continuing to discriminate, against the

        Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by

        January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross

        receipts of $500,000 or less).

13.     A preliminary inspection of the Ann Arbor Regent Hotel and Suites, including its

        facilities, has shown that many violations of the ADA exist. These violations include, but

        are not limited to:

Accessible Routes and Parking


        A. There are no adjacent access aisles at designated parking spaces, in violation of the
           ADA whose remedy is readily achievable.

        B. There is no accessible route from the designated accessible parking to the entrance
           due to a lack of access aisles and compliant curb cuts, in violation of the ADA whose
           remedy is readily achievable.

        C. The designated accessible parking does not contain any designated van accessible
           parking spaces, in violation of the ADA whose remedy is readily achievable.

        D. The passenger loading zone does not contain required marked access aisle and
           otherwise does not comply with the requirements of the ADA whose remedy is
           readily achievable.


Public Restroom:

        E. The restroom does not have the required signage, in violation of the ADA whose
           remedy is readily achievable.

        F. The restroom contains non-compliant grab bars, in violation of the ADA whose
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           remedy is readily achievable.

       G. The water closet is not located the compliant distance from the side wall measured to
          the centerline of the toilet, in violation of the ADA whose remedy is readily
          achievable.

       H. The toilet paper dispenser is not mounted in compliance with the 2010 Standards, in
          violation of the ADA whose remedy is readily achievable.

Elevator

       I. There are no floor designations on both jambs of the elevator hoistway entrances, in
          violation of the ADA whose remedy is readily achievable.

The Designated Mobility Accessible Guestrooms

       J. The emergency information posted on the entrance door is located in excess of
          allowable height, in violation of the ADA whose remedy is readily achievable.

       K. There is insufficient latch-side clearance to exit the room, due to the closet divider
          and ironing board, in violation of the ADA whose remedy is readily achievable.

       L. There are amenities in the room, including the clothes hangers, microwave, iron,
          towel hook, and extra pillows, located in excess of allowable reach range, in violation
          of the ADA whose remedy is readily achievable.

       M. The door handle requires tight grasping or twisting, in violation of the ADA whose
          remedy is readily achievable.

       N. The grab bars around the water closet are non-compliant, in violation of the ADA
          whose remedy is readily achievable.

       O. There is insufficient clearance around the water closet, in violation of the ADA whose
          remedy is readily achievable.

       P. There are amenities inside the restroom, such as extra towels, which are located in
          excess of allowable reach range, in violation of the ADA whose remedy is readily
          achievable.

       Q. The tub faucet control is not located in accordance with the 2010 Standards, in
          violation of the ADA whose remedy is readily achievable.

       R. The bath tub contains non-compliant grab bars, in violation of the ADA whose
          remedy is readily achievable.

       S. The bath tub does not contain a permanent or removable in-tub seat, in violation of
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            the ADA whose remedy is readily achievable.

        T. The shower spray unit is located excess of allowable height, in violation of the ADA
           whose remedy is readily achievable.

        U. The hotel fails to provide any designated mobility accessible guestrooms with a roll-
           in shower, in violation of the ADA whose remedy is readily achievable.

        V. The curtain controls require tight grasping or twisting, in violation of the ADA whose
           remedy is readily achievable.

Pool Area

        W. The phone located in the pool area is mounted in excess of allowable reach range, in
           violation of the ADA whose remedy is readily achievable.

        X. The pool and spa do not have a required adaptive pool lift to accommodate disabled
           guests or other means of entry, in violation of the ADA whose remedy is readily
           achievable.

Access to Goods and Services:

        Y. The transaction counter in the lobby exceeds the required height allowance, in
           violation of the ADA whose remedy is readily achievable.

Policies and Procedures

        Z. The Defendants lack or have inadequate defined policies and procedures for the
           assistance of disabled patrons, in violation of the ADA whose remedy is readily
           achievable.

14.     The discriminatory violations described in Paragraph 13 by Defendants N Dahlmann

        Knollwood LLC and HOBBS KNOLLWOOD LLC is not an exclusive list of the

        Defendants’ ADA violations. Plaintiff requires further inspection of the Defendants’

        place of public accommodation and facilities in order to photograph and measure all of

        the discriminatory acts violating the ADA and all of the barriers to access. The Plaintiff

        has been denied access to Defendants’ accommodations; benefit of services; activities;

        and has otherwise been discriminated against and damaged by the Defendants, as set

        forth above. The individual Plaintiff, and all others similarly situated will continue to
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        suffer such discrimination, injury and damage without the immediate relief provided by

        the ADA as requested herein. In order to remedy this discriminatory situation, the

        Plaintiff requires an inspection of the Defendants’ place of public accommodation,

        facilities and operations in order to determine all of the areas of non-compliance with the

        Americans with Disabilities Act.

                                 COUNT I
              VIOLATION OF THE AMERICANS WITH DISABILITES ACT

15.      Plaintiff restates the allegations of ¶¶1-14 as if fully rewritten here.

16.      The hotel at issue, as owned and operated by N Dahlmann Knollwood LLC and

         HOBBS KNOLLWOOD LLC, constitutes a public accommodation and service

         establishment, and as such, must be, but is not, in compliance with the Americans with

         Disabilities Act ("ADA") or Americans with Disabilities Act Accessibility Guidelines

         ("ADAAG").

17.      Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,

         privileges, and advantages of the property on the basis of disability due to Defendants’

         failure to comply with Title III of the Americans with Disabilities Act and its

         accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendants will

         continue to discriminate against Plaintiff and others with disabilities unless and until

         Defendants are compelled to remove all physical barriers that exist at the facility,

         including those specifically set forth herein, and make the facility accessible to and

         usable by persons with disabilities, including Plaintiff.

18.      The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

         and is damaged by irreparable harm.            Plaintiff reasonably anticipates that he will

        continue to suffer irreparable harm unless and until Defendants are required to remove
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        the physical barriers, dangerous conditions, and ADA violations that exist at the Facility,

        including those set forth herein.

19.     Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

        requiring Defendants to make such readily achievable alterations as are legally required

        to provide full and equal enjoyment of the goods, services, facilities, privileges, and

        advantages on its property to disabled persons. In connection with that relief, Plaintiff

        requests reasonable attorney’s fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

20.     Plaintiff restates the allegations of ¶¶1 - 1 9 as if fully rewritten here.

21.     N Dahlmann Knollwood LLC and HOBBS KNOLLWOOD LLC operate a "place[s]

        of public accommodation" pursuant to M.C.L §37.1301(a).

22.     Defendants committed an unlawful act pursuant to M.C.L §37.1302(a) by denying Plaintiff

        the full enjoyment of its goods, services, accommodations, advantages, facilities, or

        privileges.

23.     Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and exemplary damages,

        and attorneys’ fees and costs, in an amount to be determined at trial, but in any event not

        less than $25,000.00, as well as issuance of an injunction requiring Defendants to allow

        full and equal enjoyment of its goods, services, facilities, privileges, and advantages to

        disabled persons.

WHEREFORE, Plaintiff demands,

         For COUNT I, an injunction requiring Defendants to make all readily achievable

        alterations and institute policies and procedures to allow full and equal enjoyment of the

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    goods, services, facilities, privileges, and advantages to disabled persons, and the

    reasonable attorneys’ fees and costs of maintaining this action; and,

    For COUNT II, compensatory and exemplary damages, attorneys’ fees and costs, in an

    amount to be determined at trial, but in any event not less than $25,000.00, as well as

    issuance of an injunction requiring Defendants to allow full and equal enjoyment of the

    goods, services, facilities, privileges, and advantages to disabled persons.



                                          Respectfully Submitted,

                                          Counsel for Plaintiff:

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